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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

                     Plaintiff,
                                                  CASE NO. 13-20156
 v.                                               HONORABLE GEORGE CARAM STEEH

 DANNY JUAREZ,

                     Defendant.
                                              /

                      ORDER DENYING DEFENDANT’S MOTION
                    TO SUPPRESS WIRETAP EVIDENCE (Doc. 258)

       Now before the court is defendant Danny Juarez’s motion to suppress the fruits of

 the wiretap used to intercept telephone conversations and evidence on the grounds that

 (1) the government failed to establish the “necessity requirement” by failing to show that

 traditional investigative techniques were insufficient, and (2) the government failed to

 properly minimize non-incriminating calls. A hearing on the motion was heard on May 11,

 2015. At that time, the parties sought leave to file supplemental briefs, which this court

 granted, and the parties have now done so. Having duly considered all of the written

 submissions and oral argument, and for the reasons set forth below, defendant’s motion

 shall be denied.

                                  I. Factual Background

       Defendant Danny Juarez has been indicted along with twenty-two others of federal

 narcotics charges arising out of a multi-national conspiracy involving multi-kilograms of

 cocaine transported from Mexico to points in the United States including California,


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 Michigan, Ohio and Maryland. (Doc. 168). Defendant is charged with transporting and/or

 distributing cocaine, loading and unloading cocaine and cocaine proceeds, and re-

 packaging and/or storing cocaine.       Id. at ¶ 5. Defendant seeks to suppress evidence

 obtained through a wiretap issued by a San Bernardino Superior Court Judge on January

 24, 2012. The wiretap investigation began on that same day and continued for 30-days.

        In connection with the wiretap application, Detective John DeBets, a 29-year veteran

 of the Los Angeles County Sheriff’s Department, submitted an affidavit to intercept the wire

 communications of a cell phone used by defendant. In his affidavit, he identifies defendant

 as a suspected courier of a major drug organization and overseer of the stash of drugs and

 illicit proceeds. (Doc. 258, Ex. 2 at ¶ 20(c)). At the time that Detective DeBets submitted

 his affidavit, the investigation had resulted in the arrest of a number of individuals, the

 seizure of large quantities of narcotics, the seizure of large sums of illicit proceeds, and the

 seizure of narcotic related contraband consistent with drug trafficking. Id. at ¶ 32. Although

 the investigation had yielded the seizure of 33 kilograms of cocaine in Barstow, California

 in December, 2011, id. at ¶¶ 92-93, investigators had not identified most of the conspirators

 in California, id at ¶ 20, and in his affidavit, Detective DeBets stated that the wiretap was

 necessary to identify how the cocaine was being imported, where the narcotics and illicit

 proceeds were stored, and the day-to-day operations of the organization. Id. at ¶¶ 27, 61.

 In Detective DeBets’ affidavit, he discussed in great detail the investigative steps taken and

 the evidence collected to that point of the investigation, and explained why those traditional

 investigative techniques actually employed, or those not used, were or would be

 insufficient.

                                          II. Analysis

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 A.     Governing Law

        Although the warrant in question was issued by a California state court, federal law

 governs defendant’s motion to suppress. See United States v. Shields, 978 F.2d 943, 945-

 46 (6th Cir. 1992) (federal law governs question of validity of state issued search warrant

 in a federal criminal prosecution); United States v. Kelley, 596 F. Supp. 2d 1132, 1141

 (E.D. Tenn. 2009) (relying on decisions of the Eighth, Seventh, Second, First and Third

 Circuits holding that federal law governs the admissibility of evidence obtained as the result

 of state-authorized wiretaps).

 B.     The Necessity Requirement

        Defendant argues that the government failed to exhaust traditional investigative

 techniques before applying for a wiretap in violation of 18 U.S.C. § 2518(1)(c). The Title

 III “necessity requirement” mandates that an application for a wiretap order contain “a full

 and complete statement as to whether or not other investigative procedures have been

 tried and failed or why they reasonably appear to be unlikely to succeed if tried or to be too

 dangerous.” United States v. Stewart, 306 F.3d 295, 304 (6th Cir. 2002) (quoting §

 2518(1)(c)). “The purpose of the necessity requirement is to ensure that a wiretap is not

 resorted to in situations where traditional investigative techniques would suffice to expose

 the crime.” United States v. Rice, 478 F.3d 704, 710 (6th Cir. 2007) (internal quotation

 marks and citation omitted). The necessity defense also ensures that a wiretap not be

 impermissibly used as the “initial step in [a] criminal investigation.” United States v.

 Giordano, 416 U.S. 505, 515 (1974). But there is no need that a wiretap be only used as

 a last resort. United States v. Kerrigan, 514 F.2d 35, 38 (9th Cir. 1975).



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        In order to comply with the necessity requirement of Title III, “the government is not

 required to prove that every other conceivable method has been tried and failed or that all

 avenues of investigation have been exhausted.” United States v. Alfano, 838 F.2d 158,

 163 (6th Cir. 1988). Rather, “[a]ll that is required is that the investigators give serious

 consideration to the non-wiretap techniques prior to applying for wiretap authority and that

 the court be informed of the reasons for the investigators’ belief that such non-wiretap

 techniques have been or will likely be inadequate.” Id. at 163-64 (internal quotation marks

 and citation omitted). In order to satisfy the necessity requirement, the government cannot

 rely on a purely conclusory affidavit unrelated to the case, but must set forth enough factual

 specificity to show that the wiretap is not being employed as the initial step in a criminal

 investigation. United States v. Landmesser, 553 F.2d 17, 20 (6th Cir. 1977). But the

 burden on the government to show necessity is not a heavy one. Id. “[C]onsiderable

 discretion rests with the issuing judge in deciding whether other investigative methods

 might be successfully employed.” Id. (internal quotation marks and citations omitted).

        “Because the necessity requirement is a component of Title III, and because

 suppression is the appropriate remedy for a violation under Title III, where a warrant

 application does not meet the necessity requirement, the fruits of any evidence obtained

 through that warrant must be suppressed.” Rice, 478 F.3d at 710. However, “a wiretap

 authorization order is presumed proper, and a defendant carries the burden of overcoming

 this presumption.” United States v. Quintana, 70 F.3d 1167, 1169 (10th Cir. 1995); see

 United States v. Feldman, 606 F.2d 673, 679 n.11 (6th Cir. 1979) (“It is well settled that in

 seeking suppression of evidence the burden of proof is upon the defendant to display a

 violation of some constitutional or statutory right justifying suppression.”) District courts are

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 to give great deference to the authorizing court. United States v. Corrado, 227 F.3d 528,

 539 (6th Cir. 2000).

        Defendant argues that the government’s affidavit, submitted to the authorizing court,

 was comprised merely of boilerplate language and lacked the factual underpinnings

 necessary to satisfy the necessity requirement. A careful review of the affidavit, however,

 reveals that it sets forth a factual basis for its proffer that ordinary investigative techniques

 have been and will be insufficient or dangerous, and satisfies the requirements of §

 2518(1)(c). Significantly, as the government avers in its response, the investigation was

 not undertaken merely to determine if defendant was engaged in narcotics distribution, but

 to identify and disrupt a high-volume pipeline of narcotics with conspirators in Mexico and

 throughout the United States. As identified in Detective DeBet’s affidavit, the purpose of

 the wiretap was (1) to identify the identification of key personnel of the drug trafficking

 organization, (2) to discover the identity and role of all of the target subjects’ suppliers of

 illegal narcotics, (3) to discover the identity of the target subjects’ suppliers of illegal

 narcotics, (4) to discover the stash locations where the organization’s supplies of illegal

 narcotics are kept prior to distribution, (5) to discover the management and disposition of

 proceeds generated in the organization, (6) to discover the methods and routes used by

 the organization to import illegal narcotics into the United States and to deliver the illegal

 narcotics to various states; and (7) to obtain evidence beyond a reasonable doubt against

 the target subjects and later identified conspirators. (Doc. 258, Ex. 2 at ¶¶ 27, 61).

        In his affidavit, Detective DeBet explained why traditional investigative techniques

 were insufficient to meet these goals. Specifically, he explained that many of the traditional

 investigative techniques actually used or deemed ineffective were insufficient because of

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 the necessarily covert nature of narcotics investigation. Detective DeBet explained that

 narcotics’ evidence, such as the drugs themselves, records or cell phones used in

 furtherance of the conspiracy, are easily destroyed or discontinued in their use; thus, it is

 critical not to alert drug traffickers of the existence of a larger investigation. For this reason,

 relying on interviews, search warrants, and calling identified members of the drug trafficking

 organization before the grand jury before fully identifying the larger organization would

 jeopardize the goals of the investigation.

        Contrary to defendant’s argument, Detective DeBet painstakingly referenced the

 specific facts underlying the investigation, including among other things, evidence that (1)

 the tractor-trailer driver and passenger stopped while transporting 33 kilograms of cocaine

 had limited to no knowledge of the day to day operations of the conspiracy and refused to

 cooperate with law enforcement, and law enforcement did not arrest those individuals for

 fear that doing so would cause other members of the conspiracy to abandon, destroy or

 flee thus damaging or destroying the on-going investigation, id. at ¶¶ 63, 90-94, (2)

 defendant used counter surveillance measures and evasive tactics, thus, causing

 investigators to abort traditional surveillance measures to avoid jeopardizing the

 investigation, id. at ¶ 84, (3) closed circuit television monitoring of the area suspected as

 narcotics and illicit proceeds loading site was insufficient as it did not reveal contents of

 boxes and bags and did not gather evidence as to conversations, agreements, and other

 arrangements relevant to the conspiracy, id. at ¶¶ 111-119, and (4) trash searches of

 defendant’s location were not likely to produce relevant evidence because (a) conspirator

 Alfredo’s residence is located across the street from defendant’s residence and Alfredo has

 surveillance cameras on his property, (b) defendant’s residence is located on a lightly

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 traveled street with two choke points making surveillance easily detectable, and (c) since

 the December 17, 2011 seizure of cocaine, defendant and other co-conspirators have

 displayed that they were extremely alert to the fact that law enforcement may be

 investigating them. Id. at ¶¶ 120-22.

        In addition, Detective DeBets also thoroughly discussed the physical surveillance

 methods law enforcement used leading directly to the seizure of 33 kilograms of cocaine

 on December 17, 2011. Id. at ¶¶ 71-105. Detective DeBets explained that “physical

 surveillance, without the aid of wire intercepts, rarely provides enough information to link

 specific meetings with specific narcotics transactions” and that “prolonged, regular

 surveillance” without the aid off wiretap information, “increases the opportunities for

 detection.” Id. at ¶¶ 102, 104.

        Defendant argues that the facts of this case are akin to those in Rice, 478 F.3d at

 711, where the Sixth Circuit affirmed the district court’s decision to suppress the fruits of

 the wiretap because the government had failed to establish the necessity requirement. In

 that case, the agent’s affidavit averred that physical surveillance had been conducted but

 only with limited success. Id. at 707. In fact, the agent testified at the suppression hearing

 that agents had not conducted any physical surveillance. Id. Based on this glaring

 misstatement of fact, the district court ruled that it could not afford the deference ordinarily

 due to the authorizing court. Id. at 709. In sharp contrast, in this case, there is no

 suggestion that any of Detective DeBet’s affidavit was untrue or misleading. Defendant

 complains that a wiretap was not necessary because agents were in the process of

 obtaining a closed-circuit television monitor for the outside of defendant’s home and of the

 alleged stash/loading area. (Doc. 258, Ex. 2 at ¶¶ 111-18). In his affidavit, Detective

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 DeBet averred that the closed-circuit televisions were only somewhat useful as they would

 not show what was in the bags or boxes unloaded and would not reveal conversation,

 agreements, and arrangements. Id. at ¶ 119. Contrary to defendant’s argument, Detective

 DeBet’s claim that a wiretap was necessary in addition to the use of closed-circuit

 televisions, which were of limited value, is nothing like the misleading statements that led

 to a defective necessity finding in Rice.

        Defendant also criticizes Detective DeBet’s affidavit because he avers that grand

 jury testimony would be insufficient because he was aware of no witnesses who could

 testify as to the full scope of the drug trafficking organization, and in any event, individuals

 generally are not willing to testify in grand juries about narcotics trafficking because of fears

 for the physical safety for themselves and their families, and the risk that witnesses would

 alert other members of the organization and jeopardize the investigation. Id. at ¶¶ 125-26.

 Detective DeBet’s opinion about the efficacy of grand jury testimony was based on his 19

 plus years of experience with the Los Angeles County Sheriff’s Departments Narcotics

 Bureau, and based on his extensive training and experience in numerous narcotic

 investigations, including his familiarity with the methods and tactics employed by narcotic

 traffickers in general, as well as the methods and tactics employed by large scale Mexican

 based drug trafficking organizations. Id. at ¶¶ 3-9. The fact that Detective DeBet’s

 statements about the inadequacy of using grand jury testimony apply equally in other large

 scale narcotics trafficking cases does not render his opinion insufficient. See Landmesser,

 553 F.2d at 20. Given Detective DeBet’s extensive law enforcement background in

 investigating drug traffickers, defendant’s claim that his opinion that grand jury testimony

 would not be effective amounts to “rank speculation” lacks merit.

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        There is no question that Detective DeBets provided the court with a detailed and

 thorough picture of the specific traditional investigative techniques used to that point in time

 and why they were insufficient to accomplish the goals of the investigation, which was not

 limited to merely detecting defendant’s crimes, but to dismantling a large scale multi-

 national and interstate narcotics distribution organization. The warrant application meets

 the necessity requirement, and defendant’s motion to suppress the evidence obtained

 through that warrant shall be denied.

 C.     Minimization

        1.     Whether the Government Properly Minimized Interceptions

        Defendant also argues the fruits of the wiretap should be excluded in their entirety

 because the government allegedly breached its duty to minimize calls unrelated to the drug

 conspiracy. Title III imposes a duty on the government to conduct surveillance in a manner

 that minimizes the interception of nonpertinent calls which are not authorized to be

 recorded under the wiretap. 18 U.S.C. § 2518(5); see United States v. Patel, 579 F. App’x

 449, 457 (6th Cir. 2014). In determining whether the government has complied with its

 duty, the court applies an objective reasonableness standard. Scott v. United States, 436

 U.S. 128, 137 (1978). The Supreme Court has explained that the minimization statute

 “does not forbid the interception of all nonrelevant conversations, but rather instructs the

 agents to conduct the surveillance in such a manner as to ‘minimize’ the interception of

 such conversations.” Id. at 140 (internal quotation marks and citations omitted). The

 defendant bears the burden of production and persuasion in challenging the government’s

 compliance with the minimization requirement. United States v. Giacalone, 853 F.2d 470,

 482 (6th Cir. 1988).     A defendant may not rely on generalized complaints that the

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  government failed to fulfill its duty to minimize, but where the government provides

  defendant with the tapes made during electronic surveillance, the defendant must identify

  specific conversations that were not minimized. Id.; see United States v. Carter, 449 F.3d

  1287, 1295 (D.C. Cir. 2006) (where defendant failed to identify specific conversations that

  should not have been intercepted or a pattern of such conversations, issue of minimization

  not in play).

         Moreover, “[i]t is not enough for the defendant[] to identify particular calls which [he]

  contend[s] should not have been intercepted; [he] must establish a pattern of interception

  of innocent conversations which developed over the period of the wiretap.” United States

  v. Lawson, 780 F.2d 535, 540 (6th Cir. 1985) (internal quotation marks and citations

  omitted). In cases of “wide-ranging conspiracy,” the government is granted wide latitude

  in intercepting calls. Scott, 436 U.S. at 140. When evaluating whether the government

  acted reasonably in minimizing nonpertinent calls, court consider a variety of factors

  including: “the nature and scope of the criminal investigation; the [g]overnment’s

  reasonable expectations of the character of conversations; and, the extent of judicial

  supervision over the surveillance.” United States v. Feldman, 606 F.2d 673, 678 (6th Cir.

  1979) (collecting cases). Other factors for the court to consider in determining whether

  proper minimization occurred are “the number of target individuals, the ambiguity of the

  intercepted conversations, [and] the complexity of the acts under investigation.” United

  States v. Ozar, 50 F.3d 1440, 1447 (8th Cir. 1995). The court may also consider the length

  of the call, the use of coded language, the scope of the criminal enterprise, and the agent’s

  reasonable expectation of the content of a call. United States v. Macklin, 902 F.2d 1320,

  1328 (8th Cir. 1990). The point at which a call is intercepted may also have a bearing on

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  whether government agents properly minimized nonpertinent calls, as the government may

  need to intercept more calls early in the surveillance in order “to establish categories of

  nonpertinent calls which will not be intercepted thereafter.” Scott, 436 U.S. at 141.

         Defendant argues that all evidence intercepted by the wiretap should be suppressed

  based on the government’s alleged failure to properly minimize non-incriminating calls.

  Even if defendant shows the government failed to fulfill its minimization duties, the relief

  defendant seeks may be overly broad. The ordinary remedy for a failure to minimize is the

  exclusion of the statements improperly obtained. See United States v. West, 589 F.3d 936,

  939 (8th Cir. 2009); United States v. Cleveland, 964 F. Supp. 1073, 1091 (E.D. La. 1997)

  (citing United States v. Gaytan, 74 F.3d 545 (5th Cir. 1996)). In order to grant the

  sweeping relief of suppressing the entirety of the intercepted calls, defendant must show

  that the government’s failure to minimize nonpertinent calls was of such magnitude as to

  render the entire investigation “tainted.” United States v. Charles, 213 F.3d 10, 23 (1st Cir.

  2000); Cleveland, 964 F. Supp. at 1091-92 (defendant must show the violations were of

  “egregious magnitude, which were in flagrant disregard of the duties of minimization”);

  United States v. West, No. 06-20185, 2009 WL 4506420, at *1 (E.D. Mich. Nov. 30, 2009)

  (“suppression of all wiretap evidence is only appropriate when the failure to minimize is

  egregious.”).

         In his motion to suppress, defendant relies solely on the fact that over the 30-days

  that the electronic surveillance was in operation, there were allegedly 781 non-incriminating

  calls, yet based on the line reports provided to defendant by the government, less than two-

  percent were minimized. At oral argument, however, the government represented that

  much fewer calls were intercepted than represented on the line sheets. The government

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  offered to file a supplemental brief to address the issue and has now done so. In its

  supplemental brief, the government proffers that Los Angeles sheriff deputy Joseph Lellek

  is prepared to testify regarding the minimization performed in this case as follows: (1) there

  were only 211 intercepted calls; the 718 “sessions” relied upon by defendant included text

  messages, unanswered calls, calls going directly to voicemail when no message was left,

  and times when the target cell phone merely “pinged” with a new cellular tower, and double

  or even triple counting calls caused by the cell phone “switching” towers during a call; (2)

  of the 211 intercepted calls, only 56 calls lasted longer than two minutes; (3) calls lasting

  longer than two minutes are not minimized because of the time required for a call to be

  answered and for listening agents to determine whether a call is pertinent; (4) of the calls

  lasting longer than two minutes, 27 calls were minimized; and (5) Los Angeles County

  Sheriff’s Department monitors are trained to minimize calls by stopping interception when

  the conversation appears to be nonpertinent and then conducting spot checks to see if the

  call has turned to pertinent conversation. (Doc. 269 at ¶¶ 2-7). At oral argument,

  defendant also argued that session 29 demonstrated the government’s failure to properly

  minimize nonpertinent calls as that session lasted 39 hours, 56 minutes, and 21 seconds

  yet was still intercepted. In response, deputy Lellek states that no audio communication

  was intercepted in connection with that session at all, likely because the automated signal

  to terminate the session failed to occur. Id. at ¶ 8. Deputy Lellek explained that sessions

  identified as “undetermined call activity” are sessions with no text message or audio

  content. Id. at ¶ 2.

         The government responds that defendant cannot rely solely on statistical evidence

  to support his argument, but must present evidence that specific calls should have been

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  minimized. Giacalone, 853 F.2d 482. The Supreme Court has recognized that statistics

  may be helpful, but “blind reliance on the percentage of nonpertinent calls intercepted is

  not a sure guide to the correct answer.” Scott, 436 U.S. at 140. Even a high percentage

  of non-minimized calls does not by itself suggest that the agents acted unreasonably, as

  a variety of factors may explain why agents intercepted certain nonpertinent calls, such as

  the calls may have been very short, they may have been one-time calls, or the calls were

  ambiguous or involved guarded or coded language. Id. The government also relies on

  United States v. Amaya, No. 10-20338, 2012 WL 1134781, *5 (E.D. Mich. Apr. 4 2012)

  (Borman, J.), where the court rejected defendant’s improper minimization argument which

  was based on taking the total number of calls for each wiretap and dividing that number by

  the number of calls minimized for the wiretap. The court found that method infirm because

  it did not account for calls which were not answered. Id. The court stressed that a

  defendant cannot rely on mere percentage of calls minimized to establish insufficient

  minimization, but must show a pattern or practice of listening to innocent calls. Id. The

  same analysis applies here as defendant does not account for the many calls which were

  not answered, or lasted for such a de minimus period of time that minimization would not

  be feasible.

         In his supplemental brief, defendant claims that there are over fifty calls of more than

  two-minutes in duration that were not properly minimized. Of those fifty sessions alleged,

  however, twenty-eight were identified as “undetermined.” Deputy Lellek has explained that

  sessions identified as “undetermined” are sessions containing no text message or audio

  content, possibly explained as the cell phone “pinging” with a new cell tower; thus, there

  could be no possibility of minimizing those calls. Id. at ¶ 2. Defendant argues that the line

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  sheets indicate when there is “no audio,” and because the sessions identified as

  “undetermined” do not also state “no audio,” they required minimization. In support of this

  argument, defendant directs the court’s attention to several line sheets which state “no

  audio,” but those line sheets involved incomplete calls that were not answered. Defendant

  has not refuted the government’s claim that sessions are deemed “undetermined”

  whenever they lack audio content. Thus, defendant necessarily has not and cannot show

  that sessions identified as “undetermined” warrant minimization.

         Defendant also argues six calls identified as “incomplete” should have been

  minimized. Deputy Lellek explained that “incomplete” calls are those calls which were not

  answered. Id. at ¶ 2. Clearly, the government would have no obligation to minimize an

  unanswered call. That leaves only seventeen calls which defendant complains should have

  been minimized. Of those seventeen, ten lasted less than three minutes. A great many

  courts have “found that two to three minutes is a reasonable period of time within which to

  make an initial judgment as to the pertinence of a conversation.” United States v.

  Mansoori, 304 F.3d 635, 648 (7th Cir. 2002) (collecting cases). This is especially true in

  a major drug conspiracy involving many targets whose identities may be difficult to

  ascertain. United States v. Losing, 560 F.2d 906, 900 n.1 (8th Cir. 1977).

         Having eliminated those interceptions which involved no audio content, represented

  unanswered calls, and lasted less than three minutes, that leaves defendant with only

  seven interceptions of nonpertinent calls which he claims the government should not have

  intercepted. The non-minimization of these few calls does not warrant suppression of the

  fruits of the wiretap. Defendant has failed to show that the government engaged in an



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  improper pattern of intercepting innocent conversations over the period of the wiretap.

         2.     Evidentiary Hearing

         Defendant also moves for an evidentiary hearing on the issue of whether the

  government failed to minimize nonpertinent calls and either deliberately or recklessly filed

  false or misleading reports as to the number of calls minimized. By prior order, the court

  denied without prejudice defendant’s motion for an evidentiary hearing on the issue of

  minimization and instructed the government to respond by proffer, declaration, and

  argument at the motion hearing. The Sixth Circuit has ruled that in order to justify an

  evidentiary hearing on the issue of whether the government properly minimized

  nonpertinent calls, the defendant must show some issue of contested facts. Giacolone,

  853 F.2d at 483. Defendant relies solely on his claim that a small percentage of calls were

  minimized compared to the number of calls identified as non-incriminating, but the

  government agents acted reasonably in not minimizing the majority of “sessions” identified

  on the line sheets, as a great many of the sessions contained no audio content,

  represented calls which were not answered at all, or lasted less than three minutes. As to

  those handful of nonpertinent calls lasting more than three minutes which were not

  minimized, defendant has not met his burden of showing that the government wrongfully

  persisted in a pattern of intercepting nonpertinent conversations. Having failed to show a

  genuine issue of contested fact, an evidentiary hearing is not warranted.

                                       IV. Conclusion

         For the reasons set forth above, defendant’s motion to suppress based on the

  necessity requirement and improper minimization (Doc. 258) is DENIED. IT IS FURTHER



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  ORDERED that defendant’s motion for an evidentiary hearing regarding minimization is

  DENIED.

        IT IS SO ORDERED.

  Dated: June 4, 2015
                                            s/George Caram Steeh
                                            GEORGE CARAM STEEH
                                            UNITED STATES DISTRICT JUDGE


                                  CERTIFICATE OF SERVICE

                   Copies of this Order were served upon attorneys of record on
                         June 4, 2015, by electronic and/or ordinary mail.

                                      s/Marcia Beauchemin
                                          Deputy Clerk




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